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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SIMON J. BURCHETT
 PHOTOGRAPHY, INC.,
                                Plaintiff,                         20-CV-7634 (JPO)

                     -v-                                                ORDER

 SEEKING ALPHA, INC.,
                                Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement in principle of

this case. Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty days.

       All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: October 13, 2020
       New York, New York

                                                 ____________________________________
                                                            J. PAUL OETKEN
                                                        United States District Judge
